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             IN THE UNITED STATES COURT OF INTERNATIONAL TRADE



 ALUMINUM EXTRUSIONS FAIR
 TRADE COMMITTEE,                                   Before: Hon. _________________

                            Plaintiff,              Court No. 22-00236
                 v.

 UNITED STATES,

                            Defendant.


                                            COMPLAINT

       Plaintiff Aluminum Extrusions Fair Trade Committee (“Plaintiff”), by and through its

attorneys, alleges and states as follows:

               ADMINISTRATIVE DETERMINATION TO BE REVIEWED

       1.      Plaintiff brings this Complaint to contest portions of the final administrative

determination issued by the U.S. Customs and Border Protection (“CBP”), Office of Trade (“OT”),

Regulations and Rulings (“Regulations and Rulings”) in the de novo administrative review,

pursuant to 19 U.S.C. § 1517(f), of the initial determination of evasion made by the CBP OT Trade

Remedy & Law Enforcement Directorate (“TRLED”), pursuant to 19 U.S.C. § 1517(c), in the

Enforce and Protect Act (“EAPA”) investigation into Kingtom Aluminio S.R.L. (“Kingtom”),

EAPA Case Number 7550. The final determination by Regulations and Rulings pursuant to the de

novo administrative review was issued on June 29, 2022. See Letter from Wiley R. Beevers, Chief,

Cargo Sec., Carriers & Restricted Merchandise Branch, Regulations and Rulings, CBP Off. of

Trade, re: Enforce and Protect Act (“EAPA”) Case Number 7550; Aluminum Extrusions from the

People’s Republic of China: Antidumping Duty Order, 76 FR 30650 (May 26, 2011) and

Aluminum Extrusions from the People’s Republic of China: Countervailing Duty Order, 76 FR
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30653 (May 26, 2011); Kingtom Aluminio SRL; 19 U.S.C. § 1517 (June 29, 2022) (“Administrative

Review Determination”).

                                           JURISDICTION

        2.      The Court has jurisdiction over this action pursuant to 28 U.S.C. § 1581(c), as this

action is commenced under Section 517(g) of the Tariff Act of 1930, as amended, 19 U.S.C. §

1517(g).

                                             STANDING

        3.      Plaintiff is a coalition of domestic producers of aluminum extrusions and is,

therefore, an interested party within the meaning of 19 U.S.C. § 1517(a)(6)(A)(iv) and was a

participant in the underlying EAPA investigation and subsequent de novo administrative review.

Plaintiff filed the allegation of evasion that resulted in the initiation of the underlying investigation.

Accordingly, Plaintiff has standing to commence this action pursuant to 19 U.S.C. § 1517(g).

                                    TIMELINESS OF ACTION

        4.      Plaintiff is commencing this action by concurrently filing a Summons and

Complaint on August 11, 2022, within 30 business days after the completion of the de novo

administrative review of the initial determination of evasion on June 29, 2022. See Administrative

Review Determination. The Summons and Complaint therefore are timely filed pursuant to 19

U.S.C. § 1517(g) and Rules 3(a)(3) and 6(a) of this Court.

                   HISTORY OF THE ADMINISTRATIVE PROCEEDING

        5.      On May 26, 2011, the U.S. Department of Commerce (“Commerce”) issued

antidumping and countervailing duty orders regarding certain aluminum extrusions from China.

See Aluminum Extrusions from the People’s Republic of China, 76 Fed. Reg. 30,650 (Dep’t

Commerce May 26, 2011) (antidumping duty order) (“AD Order”); Aluminum Extrusions from the
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People’s Republic of China, 76 Fed. Reg. 30,653 (Dep’t Commerce May 26, 2011) (countervailing

duty order) (“CVD Order”) (collectively, the “Orders”).

       6.      On October 31, 2019, CBP initiated an investigation pursuant to Title IV, Section

421 of the Trade Facilitation and Trade Enforcement Act of 2015, commonly referred to as the

Enforce and Protect Act, (“EAPA”) in response to an allegation submitted by Ta Chen

International Inc. (“Ta Chen”) (“EAPA Cons. Case No. 7348”). Letter from Brian M. Hoxie, Dir.

Enf’t Operations Div., Trade Remedy & Law Enf’t Directorate, CBP Off. of Trade, re: Notice of

Determination of Evasion (Nov. 2, 2020) at 2. Ta Chen alleged that three importers, Florida

Aluminum Extrusion, LLC, Hialeah Aluminum Supply, Inc., and Global Aluminum Distributor,

LLC, imported covered merchandise that had been transshipped through Kingtom Aluminio SRL

(“Kingtom”) in the Dominican Republic. See id. at 1-2. On February 2, 2020, TRLED found that

reasonable suspicion existed that the aluminum extrusions imported were entered into the United

States through evasion. Id. at 2. On November 2, 2020, TRLED issued its determination that

substantial evidence exists demonstrating that the aluminum extrusions entered by these importers

were transshipped Chinese-origin aluminum extrusions. Id. at 17-18. In its final determination of

evasion, TRLED applied adverse inferences and found that Kingtom failed to submit accurate

information and cooperate to the best of its ability, so TRLED was unable to determine that

Kingtom produced all of the aluminum extrusions it sold. Id. at 17.

       7.      On December 16, 2020, the importers subject to EAPA Cons. Case No. 7348

submitted requests for administrative review of TRLED’s determination to Regulations and

Rulings. See Complaint, Global Aluminum Distributor LLC v. United States, Ct. No. 21-00198

(Apr. 28, 2021), ECF No. 2. Kingtom also submitted a request for administrative review, which

Regulations and Rulings rejected. On March 18, 2021, Regulations and Rulings issued its
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determination that substantial evidence supported a finding of evasion due to the commingling of

Chinese-origin aluminum extrusions with Dominican-origin aluminum extrusions. See id. at

Global Aluminum Distributor LLC v. United States Complaint, Global Aluminum Distributor LLC

v. United States, Ct. No. 21-00198 (Apr. 28, 2021), ECF No. 2.

       8.      On April 28, 2021, Global Aluminum Distributor LLC filed a summons and

complaint to appeal Regulations and Rulings’ administrative review determination of EAPA Cons.

Case 7348. See Summons, Global Aluminum Distributor LLC v. United States, No. 21-00198 (Apr.

28, 2021), ECF No. 1; Complaint, Global Aluminum Distributor LLC v. United States, No. 21-

00198 (Apr. 28, 2021), ECF No. 2. A concurrent appeal was consolidated into the lead case on

May 17, 2021. See Order Granting Motion to Consolidate Cases, Global Aluminum Distributor

LLC v. United States, No. 21-00198 (May 17, 2021), ECF No. 15. On April 15, 2022, the Court

granted Defendant United States’ motion for a voluntary remand. See Order Granting Motion to

Remand Case, Global Aluminum Distributor LLC v. United States, No. 21-00198 (Apr. 15, 2022),

ECF No. 92. On remand, CBP reversed its prior determinations that the EAPA 7348 importers

evaded the Orders, despite having reviewed the same evidence twice prior to the appeal. See

Remand Redetermination for Enforce and Protect Act (“EAPA”) Consolidated Case Number

7348, Global Aluminum Distributor LLC v. United States, No. 21-00198 (June 13, 2022), ECF No.

93. The remand redetermination was uncontested, and the Court issued judgment sustaining the

remand redetermination on August 8, 2022. See Judgment Order, Global Aluminum Distributor

LLC v. United States, No. 21-00198 (Aug. 8, 2022), ECF No. 103.

       9.      On January 27, 2020, CBP initiated an investigation pursuant to EAPA in response

to an allegation submitted by Plaintiff (“EAPA Cons. Case No. 7423”). Letter from Brian M.

Hoxie, Dir. Enf’t Operations Div., Trade Remedy & Law Enf’t Directorate, CBP Off. of Trade,
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re: Notice of Determination of Evasion (Jan. 28, 2021) at 2. Plaintiff alleged that seven importers,

Classic Metal Suppliers, Florida Aluminum Extrusion, LLC, Industrias Feliciano Aluminum Inc.,

Global Aluminum Distributor, LLC, H&E Home Inc., JL Trading Corp, and Puertas y Ventanas

JM Inc., imported covered merchandise that had been transshipped through Kingtom in the

Dominican Republic. See id. at 1-2. On May 4, 2020, TRLED found that reasonable suspicion

existed that the aluminum extrusions imported were entered into the United States through evasion.

Id. at 2. On January 28, 2021, TRLED issued its determination that substantial evidence exists

demonstrating that the aluminum extrusions entered by these importers were transshipped

Chinese-origin aluminum extrusions. Id. at 17-18. TRLED relied on discrepancies in the record

between Kingtom’s sales volume and production volume, as well as other discrepancies in the

record, in making its affirmation determination. Regulations and Rulings conducted a de novo

administrative review and affirmed TRLED’s determination. Id. at 17-18.

       10.     On July 19, 2021, H&E Home, Inc. and Classic Metal Suppliers filed a summons

and complaint to appeal Regulations and Rulings’ administrative review determination. See

Summons, H&E Home, Inc. v. United States, No. 21-00337 (July 19, 2021), ECF No. 1;

Complaint, H&E Home, Inc. v. United States, No. 21-00337 (July 19, 2021), ECF No. 2. Two

concurrent appeals were consolidated into the lead case on August 3, 2021. See Order Granting

Motion to Consolidate Cases, H&E Home Inc. v. United States, No. 21-00337 (Aug. 3, 2021), ECF

No. 15. The consolidated appeal was stayed on November 18, 2021. See Order Staying Case, H&E

Home Inc. v. United States, No. 21-00337 (Nov. 18, 2021), ECF No. 47. The stay was lifted on

July 13, 2022. Order Granting Motion to Lift Stay, H&E Home Inc. v. United States, No. 21-00337

(July 13, 2022), ECF No. 62. Defendant United States filed a motion to voluntarily remand the
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case on August 5, 2022. Motion to Remand Case, H&E Home Inc. v. United States, No. 21-00337

(Aug. 5, 2022), ECF No. 65.

       11.     On February 2, 2021, CBP initiated an investigation pursuant to the EAPA, in

response to an allegation submitted by Plaintiff (“EAPA 7550”). Letter from Brian M. Hoxie, Dir.,

Enf’t Operations Div., Trade Remedy Law Enf’t Directorate, CBP Off. of Trade, re: Notice of

Initiation of Investigation and Interim Measures – EAPA Case 7550 (May 10, 2021). Plaintiff had

alleged that Kingtom was evading the Orders by transshipping Chinese aluminum extrusions

through the Dominican Republic and that Kingtom’s facility in the Dominican Republic does not

have the capacity or the capability to produce the volume and types of aluminum extrusions it is

shipping to the United States. See id. at 2-5.

       12.     On May 10, 2021, TRLED issued its notice of initiation of the investigation and

interim measures in EAPA 7550. TRLED concluded that based on the record evidence, there is a

reasonable suspicion that Kingtom has entered covered merchandise into the customs territory of

the United States through evasion. Id. at 1. Specifically, TRLED found that the evidence

reasonably suggests that Kingtom is supplementing its production of aluminum extrusions with

transshipped Chinese aluminum extrusions. Id. at 6. On August 8, 2021, TRLED placed documents

from the administrative records of EAPA Cons. Case 7348 and EAPA Cons. Case 7423 to the

record in EAPA 7550. Letter from Brian M. Hoxie, Dir., Enf’t Operations Div., Trade Remedy

Law Enf’t Directorate, CBP Off. of Trade, re: Notice of Determination of Evasion (Feb. 4, 2022)

at 2. From August 30, 2021 through September 2, 2021, CBP conducted an on-site verification of

Kingtom in the Dominican Republic. See id. at 3. On February 4, 2022, TRLED made an

affirmative determination that Kingtom evaded the Orders. It employed adverse facts available

and relied on record evidence that Kingtom began exporting aluminum extrusions to the United
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States at the same time that the Dominican Republic established diplomatic relations with China,

that Kingtom did not have the capacity to produce the amount of aluminum extrusions it exported

to the United States, as well as discrepancies between information Kingtom provided in EAPA

7550, EAPA Cons. Case 7348, and EAPA Cons. Case 7423 and information it provided at the on-

site verification. See generally id.

        13.     On March 21, 2022, Kingtom submitted a request for administrative review of

TRLED’s determination to Regulations and Rulings. See Administrative Review Determination at

4. AEFTC filed a timely response to Kingtom’s request for administrative review on April 19,

2022. See id. at 5. On June 29, 2022, Regulations and Rulings issued its administrative review

determination reversing TRLED’s final determination of evasion. Regulations and Rulings’

administrative review determination undermined the evidence collected at the on-site verification

and accepted Kingtom’s proffered reconciliation of its production data, which TRLED had

previously rejected. Id. at 9-12.

        14.     This appeal followed.

                               CLAIM AND BASES FOR RELIEF

                                              Count I

        15.     Plaintiff hereby realleges and incorporates by reference paragraphs 1 through 14.

        16.     TRLED’s original determination was supported by substantial evidence.

Regulations and Rulings reversal the initial determination of evasion with respect to Kingtom’s

entries of aluminum extrusions was arbitrary, capricious, an abuse of discretion, and otherwise not

in accordance with law.

                          REQUEST FOR JUDGMENT AND RELIEF

        For the reasons stated in this Complaint, Plaintiff respectfully requests that the Court:
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       1)        Hold that CBP’s final administrative determination in its de novo administrative

review is arbitrary, capricious, an abuse of discretion, and is otherwise not in accordance with law;

       2)        Remand this matter to CBP for disposition consistent with the Court’s final opinion

and order; and

       3)        Grant such other relief as the Court may deem just and proper.

                                                      Respectfully submitted,

                                                      /s/ Robert E. DeFrancesco, III
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                                                      Trade Committee
Dated: August 11, 2022
